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   17

   18                       UNITED STATES DISTRICT COURT
   19                     CENTRAL DISTRICT OF CALIFORNIA
   20

   21   KEVIN RISTO, on behalf of himself        Case No. 2:18-cv-07241-CAS-PLA
   22   and all others similarly situated,
                                                 Class Action
   23                   Plaintiff,
                                                 JOINT STATUS REPORT
   24   vs.                                      FOLLOWING ADR PROCEEDINGS
   25
        SCREEN ACTORS GUILD-
   26   AMERICAN FEDERATION OF                   Complaint filed: June 22, 2018
   27
        TELEVISION AND RADIO
        ARTISTS, a Delaware corporation;         Amended complaint filed: November 11,
   28
                                                 2018


                             JOINT STATUS REPORT RE: ADR PROCEEDINGS
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    1   AMERICAN FEDERATION OF
    2   MUSICIANS OF THE UNITED
        STATES AND CANADA, a California
    3   nonprofit corporation; RAYMOND M.
    4   HAIR, JR., an individual, as Trustee of
        the AFM and SAG-AFTRA Intellectual
    5   Property Rights Distribution Fund;
    6   TINO GAGLIARDI, an individual, as
        Trustee of the AFM and SAG-AFTRA
    7   Intellectual Property Rights
    8   Distribution Fund; DUNCAN
        CRABTREE-IRELAND, an individual,
    9   as Trustee of the AFM and SAG-
   10   AFTRA Intellectual Property Rights
        Distribution Fund; STEFANIE TAUB,
   11   an individual, as Trustee of the AFM
   12   and SAG-AFTRA Intellectual Property
        Rights Distribution Fund; JON JOYCE,
   13   an individual, as Trustee of the AFM
   14   and SAG-AFTRA Intellectual Property
        Rights Distribution Fund; BRUCE
   15   BOUTON, an individual, as Trustee
   16   of the AFM and SAG-AFTRA
        Intellectual Property Rights
   17
        Distribution Fund; and DOE
   18   RESPONDING PARTY 1-10,
   19                  Responding Party.
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    1         Plaintiff Kevin Risto (“Plaintiff”) and Defendants Screen Actors Guild-
    2   American Federation of Television and Radio Artists (“SAG-AFTRA”), American
    3   Federation of Musicians of the United States and Canada (“AFM”), Raymond M.
    4   Hair, Jr., Tino Gagliardi, Duncan Crabtree-Ireland, Stefanie Taub, Jon Joyce, and
    5   Bruce Bouton (collectively “Defendants”), by and through their respective counsel
    6   of record, jointly submit this status update to the Court pursuant to the Court’s
    7   February 11, 2019 Order referring the parties to private mediation. See Dkt. 33.
    8         On April 28, 2020, the parties engaged in a full-day mediation session
    9   facilitated electronically by the Honorable Justice Steven J. Stone and his support
   10   staff at JAMS. In attendance at this digital mediation were Plaintiff and counsel
   11   from Johnson & Johnson LLP and Kiesel Law LLP; Defendants’ litigation counsel
   12   from Jenner & Block LLP; counsel from AFM; counsel from SAG-AFTRA;
   13   Stefanie Taub in her capacity as CEO of the Fund; the Fund’s outside counsel at
   14   Bredhoff & Kaiser PLLC; as well as Raymond M. Hair and Duncan Crabtree-
   15   Ireland, in their respective capacities as Fund Trustees. The parties exchanged
   16   briefs in advance of the mediation.
   17         While all key decision makers necessary to arrive at a settlement proposal
   18   were present, no agreement was reached by the parties in the course of the day-long
   19   mediation. The parties are scheduled to appear before the Court on May 18, 2020
   20   at 11:00 a.m. for a hearing regarding settlement status. The parties will provide any
   21   further settlement updates to the Court as they become available.
   22   Respectfully submitted,
   23
        Dated: May 5, 2020                    JENNER & BLOCK LLP
   24

   25
                                                      /s/ Andrew J. Thomas
   26                                                 Andrew J. Thomas
                                                      Andrew G. Sullivan
   27

   28                                                 Attorneys for All Defendants


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                              JOINT STATUS REPORT RE: ADR PROCEEDINGS
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    2
        Dated: May 5, 2020                KIESEL LAW LLP
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    4
                                                 /s/ Mariana A. McConnell
    5                                            Mariana A. McConnell
                                                 Paul R. Kiesel
    6

    7

    8   Dated: May 5, 2020                JOHNSON & JOHNSON LLP
    9

   10                                            /s/ Jordanna G. Thigpen
   11                                            Jordanna G. Thigpen
                                                 Neville L. Johnson
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   13                                            Attorneys for Plaintiff and the Class

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